           1:16-cv-01343-CSB # 79            Page 1 of 1                                              E-FILED
Judgment in a Civil Case (02/11)                                       Monday, 04 February, 2019 08:34:19 AM
                                                                                 Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                 for the
                                        Central District of Illinois

Robert Bunch                                     )
                                                 )
                    Plaintiff,                   )
                                                 )
                               vs.               )        Case Number: 16-1343
                                                 )
S.A. Godinez, Wexford Health Sources             )
Inc, Dr. Louis Shicker, Dr. Andrew               )
Tilden, Riliwan Ojelade, Nurse Jane              )
Doe, John Birkle, Susan Prentice,                )
Lance Whitecotton, . Brewer, Scott               )
Mrozek, and Randy Pfister                        )


                                                 )
                    Defendant.                   )

                                     JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.               The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                    This action came before the Court, and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that plaintiff’s action against all defendants is
dismissed, with parties to bear their own costs.

Dated: February 4, 2019

                                                          s/ Shig Yasunaga
                                                          Shig Yasunaga
                                                          Clerk, U.S. District Court
